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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

LUXOTTICA GROUP S.p.A. and OAKLEY,
INC.,                                              Case No. 18-cv-05876

                       Plaintiffs,                 Judge John Robert Blakey

       v.                                          Magistrate Judge Maria Valdez

ZHENG ZE, et al.,

                       Defendants.


           PLAINTIFFS’ EX PARTE MOTION FOR ENTRY OF A
TEMPORARY RESTRAINING ORDER, INCLUDING A TEMPORARY INJUNCTION,
    A TEMPORARY TRANSFER OF THE DEFENDANT DOMAIN NAMES,
     A TEMPORARY ASSET RESTRAINT, AND EXPEDITED DISCOVERY

       Plaintiffs Luxottica Group S.p.A. and Oakley, Inc. (collectively, “Plaintiffs”) seek entry

of an ex parte temporary restraining order, including a temporary injunction against Defendants

enjoining the manufacture, importation, distribution, offering for sale, and sale of counterfeit

products, a temporary transfer of the Defendant Domain Names, a temporary asset restraint, and

expedited discovery in an action arising out of 15 U.S.C. § 1114; Section 43(a) of the Lanham

Act, 15 U.S.C. § 1125(a); and the Illinois Uniform Deceptive Trade Practices Act, 815 ILCS §

510, et seq. A Memorandum of Law in Support is filed concurrently with this Motion.




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Dated this 5th day of September 2018.   Respectfully submitted,


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